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 1   ROB BONTA
     Attorney General of California
 2   DARRELL W. SPENCE, State Bar No. 248011
     Supervising Deputy Attorney General
 3   1300 I Street, Suite 125
      P.O. Box 944255
 4    Sacramento, CA 94244-2550
      Telephone: (916) 210-6089
 5    Fax: (916) 324-5567
      E-mail: Darrell.Spence@doj.ca.gov
 6   Attorneys for Defendants
     California Department of Education, Tony
 7   Thurmond, in his official capacity as the State
     Superintendent of Public Instruction, and State
 8   Board of Education
 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11

12

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14   EMMA C., et al.,                                       Case No. 3:96-cv-4179-VC
15                                          Plaintiffs, EXHIBITS TO STATE DEFENDANTS’
                                                        SUPPLEMENTAL PHASE 3B CIM STEP
16                  v.                                  1 SUBMISSION
17                                                          EXHIBIT 255 – EXHIBIT 322
     THURMOND, et al.,
18                                                          VOL. 8 OF 8
                                         Defendants.
19

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                    Exhibits to State Defendants' Supplemental Phase 3B CIM Step 1 Submission(3:96-cv-04179-VC)
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                        EXHIBIT 306




                                                            DEFSupp001820
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4.a.iv. For each LEA, for each CIM activity, any summary/review documents or progress
reports that were not included in the original submission.

In response to Plaintiffs’ 4.a.iv. request, CDE provides additional materials submitted by the
LEA to the CDE consultant after the previous submission date, August 18, and response to CIM
Step 1, or in the case of continuing LEAs in Step 4 – Plan Implementation and Small LEA
monitoring, any missing documentation reflective of that time period. CDE submits this list as
Exhibit 306, and the following additional demonstratives.
LEA 1
No responsive materials
LEA 2
No responsive materials
LEA 3
No responsive materials
LEA 4
No responsive materials
LEA 5

       Exhibit 307 is a copy of the LEA’s CIM Plan Revision
LEA 6

       Exhibit 308 is a copy of the LEA’s latest Progress Report
LEA 7
No responsive documents
LEA 8
No responsive documents
LEA 9

       Exhibit 309 is a copy of the LEA’s revised and approved CIM submission
LEA 10

       Exhibit 310 is a copy of the LEA’s 2022 Quarterly Progress and Expenditure Report
LEA 11

       Exhibit 311 is a copy of the LEA’s revised and approved CIM submission




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                        EXHIBIT 307




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                        EXHIBIT 308




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                        EXHIBIT 309




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                        EXHIBIT 310




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                        EXHIBIT 311




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                        EXHIBIT 313




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From:            Tamara McMillan
To:
Cc:
Subject:         CIM Step 1 - Check in for
Date:            Wednesday, May 17, 2023 1:17:42 PM


Good afternoon Director
I wanted to check in regarding CIM Step 1. I hope this process is going well for you. Is there anything
that you need guidance on?
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




                                                                                           DEFSupp001868
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From:            Tamara McMillan
To:
Cc:
Subject:         CIM Step 1 -
Date:            Tuesday, June 6, 2023 1:38:13 PM


Hello Director
I wanted to check in with you in regards to Step 1 of the CIM. How are things going? Any questions
or concerns at this point?
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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From:            Tamara McMillan
To:
Subject:         Follow Up
Date:            Friday, April 21, 2023 1:45:43 PM


Good afternoon Director          ,
I wanted to follow up to regarding the CIM process. Did you need any help regarding the Team
Development or Data Drill Down?
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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                        EXHIBIT 314




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 Opportunites for All Branch (OFAB)

 California Department of Education (CDE)

 1430 N Street, Suite 2401

 Sacramento, CA. 95814


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From:             Tamara McMillan
To:
Cc:
Subject:          2022-23 Disproportionality Review; Initial Student List;   Elementary [SECURE]
Date:             Friday, April 28, 2023 1:14:07 PM
Attachments:                               Edited Student List 4-25.xlsx


Director
On or about May 2, 2023, your Local Educational Agency (LEA) will receive (or did
receive) an email notification and PIN from the Special Education Compliance
Monitoring System (SECMS) regarding participation in the 2022–23 Disproportionality
Review. I am currently the California Department of Education (CDE) consultant
assigned to your LEA for this Disproportionality Review, which will be a self-study
review.
Attached is an initial student list. Please verify the list as follows:
               a. Provide the name of any student on this list who has exited special
                 education, moved from the district, graduated, or reached age 22, and
                 provide supporting documentation.
               b. Reply to this secure email, with the above information, not later than
                 May 5, 2023.
I will review your response and provide a final student list with detailed instructions on
proceeding with the review.
Thank you,
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




                                                                                                   DEFSupp001877
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From:               SECMS Online System
To:
Cc:                                                                      ; Tamara McMillan
Subject:            2022-2023 Disproportionality PIN for
Date:               Tuesday, May 2, 2023 11:33:33 AM


Dear                      ,

The California Department of Education (CDE) previously sent notification regarding                Elementary
identification as disproportionate and information about the mandatory requirement to participate in the
Disproportionality Review.

In order to complete the first steps of the Disproportionality Review you will need to log on to
https://www3.cde.ca.gov/secms/logon.aspx using the PIN:

If further clarification is needed, please contact the assigned Consultant, Tamara McMillan, either by email at
tmcmillan@cde.ca.gov or by phone at 916-327-6966.




                                                                                                      DEFSupp001878
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From:            Tamara McMillan
To:
Subject:         Check in regarding CIM
Date:            Monday, April 24, 2023 10:12:37 AM


Good morning Director
I wanted to follow up regarding my email sent last week. I will be helping out             and will
be supporting your LEA during the CIM Process. I wanted to check in and see how you were doing
with the Team Development and verify that you were able to get into the Data Drill Down training
last week.
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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From:            Tamara McMillan
To:
Cc:
Subject:         CIM Check In
Date:            Tuesday, June 6, 2023 1:23:32 PM


Hello Director            ,
I wanted to check in with you in regards to Step 1 of the CIM. How are things going? Any questions
or concerns at this point? I also want to verify that you have logged into SECMS and are able to see
your student list.
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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From:            Tamara McMillan
To:
Subject:         CIM Step 1 Check in
Date:            Wednesday, May 17, 2023 12:06:25 PM


Good afternoon Director             ,
I wanted to check in regarding CIM Step 1. I hope this process is going well for you. Is there anything
that you need guidance on?
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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From:            Tamara McMillan
To:
Subject:                       CIM
Date:            Friday, April 21, 2023 1:53:07 PM


Good afternoon,
My name is Tammy McMillan and I am an Education Program Consultant with the Special Education
Division of CDE. I am helping                 with some of the LEAs he is monitoring during the CIM
process. I have been assigned to assist you in this process. I wanted to check in to see how your LEA
was progressing with the CIM Team Development. I also wanted to check regarding Data Drill Down
to see if you had any questions I might be able to help with.
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




                                                                                         DEFSupp001882
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From:                   Tamara McMillan
To:
Subject:                Meeting with                 re SECMS Student File Review

Thank you for agreeing to meeting with me Director           I do not expect it to take the whole hour, but want to make sure we have time to
address all questions.




________________________________________________________________________________
Microsoft Teams meeting
Join on your computer, mobile app or room device
Click here to join the meeting <https://teams.microsoft.com/l/meetup-
join/19%3ameeting_Mzg0YjUzNzAtYzhkYS00MzBkLThmNjQtOWRiNWMyNGExY2Y5%40thread.v2/0?
context=%7b%22Tid%22%3a%22c4736a4b-8644-46a4-997c-74e935c07282%22%2c%22Oid%22%3a%22a3aba7a2-469b-431e-92cf-
36b99e390465%22%7d>
Meeting ID: 225 005 318 644
Passcode: c8Shuf
Download Teams <https://www.microsoft.com/en-us/microsoft-teams/download-app> | Join on the web <https://www.microsoft.com/microsoft-
teams/join-a-meeting>
Or call in (audio only)
+1 323-553-1010,,240893169# <tel:+13235531010,,240893169#> United States, Los Angeles
Phone Conference ID: 240 893 169#
Find a local number <https://dialin.teams microsoft.com/69866a16-ed88-426c-9a6b-9c43c422aa95?id=240893169> | Reset PIN
<https://dialin.teams microsoft.com/usp/pstnconferencing>
Learn More <https://aka.ms/JoinTeamsMeeting> | Meeting options <https://teams.microsoft com/meetingOptions/?organizerId=a3aba7a2-469b-431e-
92cf-36b99e390465&tenantId=c4736a4b-8644-46a4-997c-
74e935c07282&threadId=19_meeting_Mzg0YjUzNzAtYzhkYS00MzBkLThmNjQtOWRiNWMyNGExY2Y5@thread.v2&messageId=0&language=en-
US>
________________________________________________________________________________




                                                                                                                                  DEFSupp001883
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From:            Tamara McMillan
To:
Subject:         RE: [EXTERNAL] Re: CIM Step 1 Check in
Date:            Wednesday, May 17, 2023 1:11:55 PM


Hello Dr.           ,
I would be happy to meet with you. Please send a couple of dates and times that will work within
your schedule and I will find one that fits with mine.
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814
From:                                                       >
Sent: Wednesday, May 17, 2023 12:17 PM
To: Tamara McMillan <TMcMillan@cde.ca.gov>
Subject: [EXTERNAL] Re: CIM Step 1 Check in

 CAUTION! This email originated from outside the California Department of Education. Be
 careful of links and attachments.

Good Afternoon Tamara,
Thank you for checking in on me. We just had a very informative presentation
by our SELPA on data analysis and support. We have created our team and
started the data gathering process. It is a very busy time of year and I am
short a few teachers. Our meeting had to be postponed until the first week of
June to the team. Once I gather the team for our second meeting, I would like
to schedule a short meeting via Zoom to review our data with you and discuss a
strategy for next steps.
Would you happen to have time available during the second week of June? That
is between the regular school year and ESY so I am relatively free all week.
Please let me know what time works best for you.
Sincerely




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named above, and may contain information that is privileged and confidential.
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prohibited. If you think that you have received this message in error, please delete it and
notify the sender.
On Wed, May 17, 2023 at 12:06 PM Tamara McMillan <TMcMillan@cde.ca.gov> wrote:

  Good afternoon Director             ,
  I wanted to check in regarding CIM Step 1. I hope this process is going well for you. Is there
  anything that you need guidance on?


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  Tamara McMillan, Education Program Consultant
  Focused Monitoring and Technical Assistance Unit II
  Special Education Division (SED)
  Opportunites for All Branch (OFAB)
  California Department of Education (CDE)
  1430 N Street, Suite 2401
  Sacramento, CA. 95814


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      Tamara McMillan, Education Program Consultant
      Focused Monitoring and Technical Assistance Unit II
      Special Education Division (SED)
      Opportunites for All Branch (OFAB)
      California Department of Education (CDE)
      1430 N Street, Suite 2401
      Sacramento, CA. 95814

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My mistake. I forgot to tell the staff to add the students. They are added
now.

Thanks




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or entity named above, and may contain information that is privileged and
confidential. Dissemination, distribution or copying without the prior approval of the
sender is strictly prohibited. If you think that you have received this message in
error, please delete it and notify the sender.

On Wed, Jun 14, 2023 at 2:06 PM Tamara McMillan <TMcMillan@cde.ca.gov> wrote:

  There are no students associated with this username and password.

  Tamara McMillan, Education Program Consultant

  Focused Monitoring and Technical Assistance Unit II

  Special Education Division (SED)

  Opportunites for All Branch (OFAB)

  California Department of Education (CDE)

  1430 N Street, Suite 2401

  Sacramento, CA. 95814


  From:
  Sent: Wednesday, June 14, 2023 12:37 PM
  To: Tamara McMillan <TMcMillan@cde.ca.gov>
  Subject: [EXTERNAL] Re: SECMS Login


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  Hi Tamara,



                                                                             DEFSupp001894
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Sorry about that. I changed the password and hopefully this will work.
Below is the user and password.

USER:

Password:

Keep me posted if it doesn't work.

Sincerely




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individual or entity named above, and may contain information that is privileged
and confidential. Dissemination, distribution or copying without the prior approval
of the sender is strictly prohibited. If you think that you have received this
message in error, please delete it and notify the sender.

On Wed, Jun 14, 2023 at 12:25 PM Tamara McMillan <TMcMillan@cde.ca.gov> wrote:

  Good afternoon

  I tried to log into SEIS with the username and password that was in SECMS. However,
  it would not let me in and I am now locked out. If you could please help me gain access
  I would appreciate it.

  Tamara McMillan, Education Program Consultant

  Focused Monitoring and Technical Assistance Unit II

  Special Education Division (SED)

  Opportunites for All Branch (OFAB)

  California Department of Education (CDE)

  1430 N Street, Suite 2401

  Sacramento, CA. 95814


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From:              SECMS Online System
To:
Cc:                                                                            Tamara McMillan
Subject:           Reminder Disproportionality Self-Study Review Due in Approximately One Month
Date:              Thursday, June 1, 2023 10:33:23 AM


Dear                     ,

            Elementary is completing the 2022-2023 Disproportionality Self-Study Review. This is a reminder; the
Disproportionality Self-Study Review is due in approximately one month.

By this date, local educational agencies should have begun the review and entered student names. It is imperative
that all information is entered and submitted by the due date.

If you have any questions, please contact your assigned consultant, Tamara McMillan at tmcmillan@cde.ca.gov.




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From:            Tamara McMillan
To:
Subject:         SECMS Login
Date:            Wednesday, June 14, 2023 12:25:14 PM


Good afternoon             ,
I tried to log into SEIS with the username and password that was in SECMS. However, it would not let
me in and I am now locked out. If you could please help me gain access I would appreciate it.
Tamara McMillan, Education Program Consultant
Focused Monitoring and Technical Assistance Unit II
Special Education Division (SED)
Opportunites for All Branch (OFAB)
California Department of Education (CDE)
1430 N Street, Suite 2401
Sacramento, CA. 95814




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                                                            DEFSupp001903
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        Libbey Durkee (LDurkee@cde.ca.gov) has sent you a protected message.




                                              Read the message

                      Access to the message will expire on Friday, June 9, 2023 6:22 PM (UTC)



     Encryted message from California Department of Education secure messaging
                                       system.

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Microsoft Corporation, One Microsoft Way, Redmond, WA 98052




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From:             Libbey Durkee
To:
Cc:
Subject:          Introduction
Date:             Thursday, April 27, 2023 10:33:00 PM


Hi

I saw the email with       but wanted to email you and introduce myself. My name is Libbey
Durkee and I have been asked to help out the assigned consultant for your region,          and
work with            during this monitoring cycle.

I went ahead and reviewed your Annual Determination Letter and data sheets from last year and this
year. It looks like you have had improvement on your overall risk ratio. You went from 12 students
who are Hispanic/SLD at a risk ratio of 4.98 to 10 students who are Hispanic/SLD at a risk ratio of
3.72. This year could be the determining factor. You are in your second year of disproportionality – 1
more year of identification and you’ll be moved up to our intensive tier of monitoring, labeled as
significantly disproportionate, and have to set aside 15% of your IDEA funds to work on the
disproportionality. There are also many more federal regulations at that level.

Data for the third year determination (next year), is pulled in October of this year. That means you
and I have 6 months to try to get your risk ratio below 3.

I have also taken a look at your 2022 CIM plan. It looks pretty comprehensive, and most activities
implemented and ongoing, or implemented and complete. How do you feel about
2022 CIM plan and activities? One thing I was wondering about when reading it is if there is any
process in place to re-assess students upon entering (especially from

There has been a lot of confusion due to changes, so I wanted to clearly write out what the
expectations are as of this email:

Disproportionality - this year, disproportionality will look the same. I will provide you a student list
in the next week. I will need to know if students are active. Ill provide more details on this later. You
will login and complete the review by June 30th. Then the timeline continues with my review, any
corrective actions and possible Prong 2. There is a pre-recorded training on the padlet (linked below)
that you can refer to if needed as a refresher. You will receive a PIN email to enter the software on
May 2. You can begin your review once I have authorized it, after the finalization of your student list.

CIM Plan – Since you are a “continuing LEA” who submitted a CIM plan this year, you have a couple
of options.
Option A – continue to use the CIM plan you created in 2022, but make some revisions and updates,
particularly to the activities, to extend or add new ones that would take you through another year.
The plans are technically 3 year plans, so you could extend the activities 2 years if you wanted.
Option B – Create a new CIM Plan. You could go through the process again and create a new plan. So
far LEAs only seem to want to do this if they have a new area to focus on or felt the previous year’s
CIM plan wasn’t helpful or successful. If a new plan is chosen, make sure parent input portion is


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completed. The goal is a 20% response.
As of right now, my understanding is that either way, you would login to the Stepwell system to
complete the CIM areas (even if its copying in from last year, and making adjustments). If this should
change, I will let you know. The access to the software has not yet been provided.

Trainings – I know you are very busy. If you are choosing to continue and revise your CIM plan you
are not required to attend the trainings. They are there if you need them, if you want to brush up a
certain area of your CIM, or you can review the recordings on the padlet. The padlet is located here:
Resources for Targeted Monitoring (padlet.com)

Progress Reporting – A Progress report will be due in July. I haven’t been provided a template to
provide to you yet, but as soon as I have it, I will send it along. There will be training on this that you
must attend. Since most of your activities have been implemented and completed, after the
progress report in July, the following progress reports would focus more on improvements to your
data. Since you seem to be a small LEA, calculation is fairly easy, and there is a data calculation
worksheet I can provide you to see if your numbers have altered every 6 months.

I am also going to have “office hours” Tuesdays from 1:30 to 2:30 until June 20th where LEAs can
drop in and talk to me. I haven’t set something up like this through Microsoft Teams before, so I am
hoping I can have people wait in the lobby until I can admit the next group/individual. If you would
like to drop in to any of these office hours, let me know and I will send you the meeting invite. I am
also available for other 1:1 meetings for questions, as needed, just let me know and I can give you
my availability.

I usually am the most responsive to email, so always feel free to send me an email as well.

Thank you! And let me know if you have any questions!

Libbey Durkee, Education Programs Consultant
Focused Monitoring and Technical Assistance Unit Three
Special Education Division
1430 N Street, Suite 2401
Sacramento, CA 95814
916-327-0863 (phone)




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I also saw you submitted step 1, are you creating a new plan? Or the submission is a revision of
your old plan?

Thanks!

Libbey Durkee, Education Programs Consultant
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From:            Libbey Durkee
To:
Subject:         RE: [EXTERNAL] Re:               Progress Report
Date:            Wednesday, July 12, 2023 5:30:00 PM


Great! Thank you!


From:
Sent: Wednesday, July 12, 2023 5:29 PM
To: Libbey Durkee <LDurkee@cde.ca.gov>
Subject: Re: [EXTERNAL] Re:            Progress Report

Almost through it now. I’ll hit the target by Friday. Again…thank you.

On Wed, Jul 12, 2023 at 5:20 PM Libbey Durkee <LDurkee@cde.ca.gov> wrote:

  Hi

  Yes, answer the prompts from the padlet, and send it back to me. The prompts are directly related
  to the activities completed in school year 22/23 from the CIM plan created in 2022.

  The calendared action plan, which you’ve started to submit through stepwell, is going forward.

  So the progress report is looking back, the Steps in Stepwell are looking forward.

  Hope that helps!

  Libbey


  From:
  Sent: Tuesday, July 11, 2023 5:23 PM
  To: Libbey Durkee <LDurkee@cde.ca.gov>
  Subject: Re: [EXTERNAL] Re:            Progress Report

  Copy that. To recap, answer those prompts from the Padlet…and fire those answers back directly
  to you? But, you also need it in the form of a calendared action plan with dates correlated to each
  action. I answered to this level of prompting in Step 1 and the draft for Step 2, which I couldn’t
  submit in June. I’m sure you saw that trail of questions from me. I’ll go back into Stepwell and
  extract those out. I’ll get you a doc Friday.

  Thanks for catching and filling the gaps.  

  On Tue, Jul 11, 2023 at 4:24 PM Libbey Durkee <LDurkee@cde.ca.gov> wrote:
       Hi



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In 2022,             created a CIM plan that had activities that were to be completed by June
2023. The progress report is to see how those activities were completed. I’ve attached the link
to the padlet where the progress report is posted: Progress Report Form

Since activities ended in June, to continue any type of plan, a revision had to occur, that did in
fact, add value, detail, and either continued/lengthened activities that had meaning and impact,
or added new activities. Some LEAs are choosing to revamp that plan in its entirely, completely
re-doing the whole plan and submitting within Stepwell; others are making slight edits and
submitting in stepwell; and still others are only making changes to the activities and submitting
a document with those changes to me. Its up to you and what is best for your LEA.

For you, that means I need the progress to date, and the changes that include activities with
extended end dates.

Thanks!

Libbey


From:
Sent: Tuesday, July 11, 2023 2:20 PM
To: Libbey Durkee <LDurkee@cde.ca.gov>
Subject: [EXTERNAL] Re:              Progress Report



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 Education. Be careful of links and attachments.

I was under the impression that we were simply pushing the revision of "the old plan," with
added value and detail, forward from what was submitted in fall 2022, because we had the
same management detail in place?  

Aside from where I wrote step 1, where would I write progress from the last CIM--isn't it the
same plan and same CIM?

On Tue, Jul 11, 2023 at 2:12 PM Libbey Durkee <LDurkee@cde.ca.gov> wrote:
  Hi

  Can you please provide by Friday, the progress report for activities on your last CIM?

  I also saw you submitted step 1, are you creating a new plan? Or the submission is a revision
  of your old plan?

  Thanks!

  Libbey Durkee, Education Programs Consultant

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Password:



Please let me know if you have any questions.


Thank you!



Libbey Durkee, Education Programs Consultant

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From:
To:            James Durgin
Subject:       [EXTERNAL] Re: Unspent 2021 CCEIS Funds Letter -
Date:          Tuesday, June 6, 2023 11:52:24 AM
Attachments:   image001.png




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 careful of links and attachments.

Hey Jim,

I hope all is well with you! Happy Tuesday.

I was hoping you and I could meet on this, I’m not sure I’m up-to-speed. Sounds like some of
this was before my time, I was adjacent to the process but not leading it.

Do you have anything this week or next?

On Tue, Jun 6, 2023 at 11:27 AM James Durgin <JDurgin@cde.ca.gov> wrote:

 Dear Superintendent



 I hope this email finds you well. Please take a moment to read the attached letter from the
 California Department of Education (CDE) that contains important information regarding
 your 2021 Comprehensive Coordinated Early Intervening Services (CCEIS) Plan and your
 current status of unspent funds. CDE’s goal is to work with you and your 2021 CCEIS Team
 as you resolve these issues and create solutions that will help your district and benefit our
 students.

 Please let me know if you have any questions.

 Sincerely,




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 Jim Durgin

 Education Programs Consultant

 Focused Monitoring and Technical Assistance Unit Four

 Special Education Division

 California Department of Education

 1430 N Street, Suite 2401

 Sacramento, CA 95814-5901



 Phone: (916) 327-3537

 Fax:      (916) 327-3534

 Email: JDurgin@cde.ca.gov

 CDE Website: http://www.cde.ca.gov




--
Thanks,



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From:             James Durgin
To:
Subject:          Checking In
Date:             Monday, June 19, 2023 11:57:00 AM


Hi

Happy Monday!

I hope you had a great weekend. It was nice meeting with you last week on Zoom, and hearing about
all of the great work you and your team are doing!

When you get the chance, can you please provide the following:

       Any agendas from your meetings with
       A brief rundown on the work                     is currently working on in regards to the CIM
       process

I’m just wanting to be as organized as possible on my end, and able to provide the best support
possible to you and your team.

Thanks so much!

Jim




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Provide quality educational opportunities for high school students in




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From:           James Durgin
To:
Cc:                         ;
Subject:        Unspent 2021 CCEIS Funds Letter -
Date:           Tuesday, June 6, 2023 11:27:00 AM
Attachments:    FINAL 2021 CCEIS Unspent Funds Letter -        - SIGNED.pdf
                image001.png



Dear Superintendent

I hope this email finds you well. Please take a moment to read the attached letter from the
California Department of Education (CDE) that contains important information regarding your
2021 Comprehensive Coordinated Early Intervening Services (CCEIS) Plan and your current
status of unspent funds. CDE’s goal is to work with you and your 2021 CCEIS Team as you
resolve these issues and create solutions that will help your district and benefit our students.

Please let me know if you have any questions.

Sincerely,

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Jim Durgin
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Special Education Division
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CDE Website: http://www.cde.ca.gov




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